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                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                        NORTHEASTERN DIVISION

NATIONAL SMALL BUSINESS                   )
UNITED, d/b/a the NATIONAL                )
SMALL BUSINESS                            )
ASSOCIATION, et al.,                      )
                                          )
      Plaintiffs,                         )
                                          )
v.                                        )            Case No. 5:22-cv-1448-LCB
                                          )
JANET YELLEN, in her official             )
capacity as Secretary of the              )
Treasury, et al.,                         )
                                          )
      Defendants.                         )



                                 FINAL JUDGMENT

      For the reasons articulated in its March 1, 2024, opinion on the parties’ cross-

motions for summary judgment, (Doc. 51), the Court FINDS that the Plaintiffs are

entitled to summary judgment as a matter of law, and GRANTS the Plaintiffs’

request for relief as follows:

      (1)    The Court ENTERS this final declaratory judgment: as discussed in

             the Court’s opinion, the Corporate Transparency Act is unconstitutional

             because it exceeds the Constitution’s limits on Congress’ power. The
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      Court makes no ruling as to the constitutionality of the Act on any other

      grounds.

(2)   The Defendants, along with any other agency or employee acting on

      behalf of the United States, are PERMANENTLY ENJOINED from

      enforcing the Corporate Transparency Act against the Plaintiffs.

(3)   The Court will hear the parties’ arguments concerning the allocation

      and amount of costs on a date to be determined.

DONE and ORDERED March 1, 2024.



                             _________________________________
                             LILES C. BURKE
                             UNITED STATES DISTRICT JUDGE
